 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 1 of 34 Page ID #:125


                                                                               07/15/2024
1                           THE UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA EASTERN DIVISION                  AP

2
     JEFF MACY,                                  Case No.: 5:24-cv-01009-RGK-BFM
3
                        Plaintiff,                     PLAINTIFF’S OBJECTIONS TO
4                                                     MAGISTRATE JUDGE’S REPORT &
     vs.                                                  RECOMMENDATION
5
     SAN BERNARDINO COUNTY SHERIFF’S
6    DEPARTMENT TWIN PEAKS PATROL
     STATION,
7
                      Defendant.
8
           Pursuant to 28 U.S.C. § 636(b)(1) & Rule 4(b) of Appendix C to the Local
9
     Rules, Plaintiff Jeff Macy respectfully makes the following objections to the
10

11
     Report & Recommendation entered in this matter on July 2, 2024. For the

12
     reasons stated below, the Report should not be followed, & this case should

13   not be dismissed.

14         On 7/31/20 someone put a “FREE” sign on Plaintiff’s ornate fences (1st saw

15   the sign when Plaintiff arrived at MacyLand property around 11:30 AM). Plaintiff

16   took a picture of the sign, then took it off. Later, on the same day, after Plaintiff

17   & Family cleaned MacyLand property around 6 PM, drove up, & saw another

18   “FREE” sign on Plaintiff’s fences again. Macy Family took a picture then took
19   the “FREE” sign down again. Macy Family also informed the neighbor across
20   the street, named Susan to be on the lookout for who is putting the “FREE” sign
21   on our fences. Plaintiff called 911 & Defendants never showed up.
22         At around 8 PM on 7/31/20, Plaintiff & Family saw a black Subaru car [#1];
23   license plate #AZ08V93 parked on Plaintiff’s private property. (Trespassing,
24   abandoned vehicle, no rear or front license plate existed, citizen’s arrest,
25   unknown owner, stolen vehicle?) Plaintiff & Family called 911. When Plaintiff &
26
     Family was calling, a young black man walked up & threatened Plaintiff &
27
     Family saying, “You better back off or I will knock your ass out!” A black older
28                                           PAGE 1
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 2 of 34 Page ID #:126



1
     man, neighbor with a pointed spade shovel in hand, came up & said, “You
2
     need back up?” Then young black male criminal drug dealer got into Subaru
3
     car & zoomed away super-fast. 5-7 minutes later. After a big 4x4 white truck
4
     [#2] with the license plate #61870W2 sped by the Plaintiff & Family’s red truck;
5
     past Plaintiff’s private property dirt road. Minutes later big white truck turned
6
     back around, drove by Plaintiff & family illegally fast again. Around 9 PM,
7
     Plaintiff & Family was driving home & saw the same big white truck & black
8
     Subaru; at the corner of Mojave River RD & Crest Forest Drive, Cedarpines Park,
9
     CA 92322. Plaintiff Jeff Macy called 911 again for help. While Plaintiff was on the
10
     phone, another sports car [#3] coming from Crest Forest Drive & a green jeep
11

12
     [#4]; driven by the neighbor black man coming from Mojave River RD showed

13   up. The green jeep blocked, detained, & prevented Plaintiff & Family from

14   escaping or driving away. Intentionally blocked behind Plaintiff & Family truck,

15   so family could not escape! White truck & sports car parked in front of Macy

16   Family truck. The young black criminal male eventually got out of the white

17   truck, jumped into the black Subaru [#1] with no license plates, then high

18   speed, illegally sped away on Crest Forest Drive. The green jeep [#4] backed

19   out quickly & drove back to his house on Mojave River RD. The white truck [#2]
20   & sports car [#3] left downhill on Crest Forest Dr. Plaintiff & Family waited for a
21   while for fear of lives. Defendant’s County Sheriffs never showed up or called
22   Plaintiff & family back.
23      On 8/4/20 at around 10:30 AM, Defendant’s County Sheriff Officer pulled
24   Plaintiff & Family over on Mojave River RD. Defendant’s County Sheriff Officer
25   stopped Plaintiff & Family for more than 30 minutes, asking several questions
26
     like, “How much is your 36-acre lake view property worth?” Plaintiff Jeff Macy
27
     replied, “I don’t know, probably worth a lot, why? Defendant’s Officer also
28                                          PAGE 2
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 3 of 34 Page ID #:127



1
     asked, “How many millions is your private property worth?” –At this point
2
     Plaintiff was very concerned! Plaintiff asked Defendant’s Sheriff, “Are you going
3
     to investigate our private property damages?” Then Defendant’s County
4
     Sheriff refused to answer question & said, “I have a call & have to go.”
5
     Defendant’s Officer drove away.
6
        At around 4 PM on 8/4/20, County Code Enforcement Officer Pedro Moreno
7
     had a badge, showed up, & illegally detained Plaintiff & family from cleaning
8
     up trash. County Code Enforcement Officer trespassed onto Plaintiff’s private
9
     property. Plaintiff called County Code Enforcement to report civil rights
10
     violations. County Officer Pedro illegally took pictures of Plaintiff’s red 4x4 Ford
11

12
     truck license plate; full of trash from County CSA-18’s illegal dumping for years.

13   Plaintiff & Family called 911, but Defendants never came or called back to

14   investigate.

15      On 9/9/20, Plaintiff & Family went over to MacyLand property at around 5

16   PM & saw cables (that Plaintiff & Family put up to secure MacyLand property’s

17   4 entrances) were cut up in 3 different places & on the ground. Plaintiff &

18   Family’s glass mason jar lights were scattered & shattered glass was across

19   Plaintiff & Family’s private road, creating a hazardous condition. Plaintiff &
20   Family has photos of cut & destroyed cables. San Bernardino County Code
21   Enforcement gave Plaintiff ticket of violation for hazardous glass & trash on
22   road which was caused by County. Defendant once again would not show up
23   when Plaintiff called 911.
24      On 9/9/20 Plaintiff & Family were cleaning MacyLand & saw Plaintiff’s U.S.
25   FLAG was illegally removed. Plaintiff & Family’s Military grade, high quality,
26
     parachute material hammocks were destroyed. Plaintiff & Family had 3
27
     different shades of green hammocks which were destroyed, cut by pocket
28                                          PAGE 3
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 4 of 34 Page ID #:128



1
     knife multiple times. Shredded Hammocks were left on Plaintiff’s Property.
2
     Defendants have provided no security for Plaintiff’s private property;
3
     Defendants are not taking their job seriously & not helping Plaintiff & Family.
4
     Plaintiff’s 2 rope swings, high quality, expensive thick ropes were stolen. Plaintiff
5
     & Family went out to clean up trash that County keeps giving Plaintiff tickets of
6
     violations to clean up. Plaintiff & Family called 911, but Defendant’s Officers
7
     never showed up to investigate or make a report.
8
        On 9/9/20 there was an abandoned truck vehicle (decrepit truck was on
9
     the neighbor’s property bordering MacyLand), which was illegally dragged
10
     onto Macy Family’s property. Plaintiff & Family called the Defendant’s County
11

12
     Sheriff & this time 2 Defendant’s County Sheriffs came out to make a report, but

13   never followed up with Plaintiff & Family’s report. Defendant’s County Sheriff

14   Officer Maestas said, “I will be back tomorrow (9/10/20) to talk to the

15   neighbors.” Instead of helping Macy Family tow truck away, Defendant’s

16   County Sheriffs disappeared & never showed up again; no case # was given.

17   There were clear fresh drag marks on the ground from neighbor’s property,

18   past clearly identified survey markers, over to Plaintiff’s private property.

19   Neighbors were evil & moved abandoned vehicle to MacyLand to make
20   Plaintiff deal with the neighbor’s abandoned truck instead.
21      On the same 9/9/20 day, Plaintiff’s neighbor Mark Eason admitted to
22   shooting rattlesnake with Eason’s shotgun on Plaintiff’s property. Mark Eason
23   also admitted to placing rattlesnake 10’ clearly onto Plaintiff’s property; on top
24   of a round log, in plain sight. Eason intentionally placed rattlesnake on Plaintiff’s
25   log to intimidate & scare Plaintiff’s children. Plaintiff & Family called 911 &
26
     Defendant’s Officer did come out. Mark Eason even admitted to Defendant’s
27
     Officer County Sheriff Maestas that Mark Eason shot rattlesnake outside in
28                                           PAGE 4
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 5 of 34 Page ID #:129



1
     public, but was not arrested or given a ticket. Case #052001280. County Sheriff
2
     Maestas should have arrested Mark Eason for admitting to using shotgun on
3
     Plaintiff’s Property to kill Rattlesnake & throw on Plaintiff’s log. Instead,
4
     continued history of failure of duty, negligence, & Police Misconduct. Pattern
5
     of County Sheriffs not doing their job. Plaintiff has pictures of dead rattlesnake
6
     on log; which Defendant’s County Sheriff Maestas refused to dispose of or call
7
     animal control for. County Sheriff Maestas is liable, left dangerous situation, &
8
     negligence there. Plaintiff Jeff Macy even asked County Sheriff Maestas to
9
     remove rattlesnake, which County Sheriff Maestas would not do. According to
10
     https://wildlife.ca.gov/Conservation/Reptiles/Rattlesnake: “DO NOT try to
11

12
     touch or handle a snake, dead or alive. Dead rattlers may still inject venom

13   shortly after death.” Rattlesnake bites can cause severe injury or death.

14   Defendant’s County Sheriff Maestas kept yelling at Plaintiff Jeff Macy; also

15   yelled, “I don’t work for you (Plaintiff Jeff Macy).”

16      On 9/17/20, 2 EHE Surveyors did survey for Plaintiff’s property. Plaintiff’s wife

17   Julie Macy was taking pictures of all survey markers of Plaintiff’s property lines

18   put in by EHE Surveyors. Neighbor Linda Koupeny came out & battered

19   Plaintiff’s wife Julie Macy & Plaintiff’s son Josiah Macy; with high pressure spray
20   in mouths & noses with water hose in their faces, so they couldn’t breathe. EHE
21   Surveyors also witnessed Julie Macy & Josiah Macy getting battered with water
22   hose in their faces. EHE Surveyor Matthew suggested that Julie Macy call the
23   Sheriff. Julie Macy video recorded Neighbor Linda Koupeny’s actions & then
24   called the Sheriff. Defendant’s County Sheriff Robert Maestas showed up &
25   gave Neighbor Linda Koupeny ticket for battery instead of arresting Linda
26
     Koupeny. Case #052001326 Linda Koupeny has been charged with battery
27
     against Julie & Josiah Macy on Plaintiff’s property, at disputed fence line. Same
28                                            PAGE 5
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 6 of 34 Page ID #:130



1
     day, Plaintiff & Family noticed Plaintiff’s fences that were chained & locked to
2
     tree on Plaintiff’s property were gone & stolen. Plaintiff & Family also reported
3
     stolen fences to Defendant’s Officer. County Sheriff Maestas said stolen fences
4
     would be added to 9/9/20 case, but Defendant’s Officer never called Plaintiff
5
     & Family back or followed up.
6
        On 10/2/20, Macy Family went to Plaintiff’s property at around 3 PM. Plaintiff
7
     & Family noticed that Plaintiff’s 2 signs, which were mounted on Plaintiff’s
8
     property corner were removed. Macy Family later found signs & cut down
9
     cables; thrown down Plaintiff’s property hill. Macy Family called Defendant’s
10
     County Sheriff. County Sheriff Maestas showed up & said Defendant’s Officer
11

12
     would investigate about the signs.

13      There were 8 Police Misconducts on 10/2/20: Police Misconduct #1 County

14   Sheriff Maestas trespassed on Plaintiff’s private road, Defendant’s Officer was

15   supposed to meet at top entrance of MacyLand property to investigate Macy

16   Family’s stolen no trespassing signs/cut cables etc.]. County Sheriff Maestas

17   said, “I noticed the cables have been cut down again”, but asked more

18   questions about the broken, trashed, faded ½ of sign that neighbor called in

19   saying, Plaintiff Jeff Macy took their sign. Police Misconduct #2 County Sheriff
20   Maestas instead of helping Plaintiff & Family, which County Sheriff Maestas was
21   called out for: felony, instead turned on Plaintiff & Family; did more
22   investigation about allegation of petty theft broken, trash ½ of sign. [Yet told
23   Sheriff was a vacant land owner’s sign, who was not around] Macy Family was
24   cleaning up MacyLand property & faded ½ of 1 part of a trashed, broken in ½
25   faded sign; lying face down on Plaintiff’s property. Plaintiff Jeff Macy picked up
26
     faded ½ of sign & threw faded ½ of sign in back of dump truck with trash to
27
     throw away. Broken up, $0 value plastic, trash ½ of sign was in back of Macy
28                                         PAGE 6
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 7 of 34 Page ID #:131



1
     Family trash truck to take to dump; for County Code Enforcement ticket fine
2
     given to Plaintiff to clean up trash. Defendant’s Officer talked more about the
3
     trashed, faded ½ of sign Plaintiff Jeff Macy picked up, rather than Macy
4
     Family’s signs & cut down cables which Sheriff Officer was called out for from
5
     Macy’s. County Sheriff Maestas never turned $0 value plastic, trashed, faded ½
6
     of sign into evidence. Police Misconduct #3 Defendant’s County Sheriff
7
     Maestas gave sign to Hearsay neighbor instead of taking the $0 value, faded ½
8
     plastic, trash sign into evidence. [Required for a criminal charge] County
9
     Sheriff Maestas drove up road to give neighbor $0 value plastic, trashed, faded
10
     ½ of sign! Hearsay neighbor called in, saying, “Not owner of vacant property
11

12
     lot, but has authority to call on behalf of owner?”. Hearsay neighbor had “No

13   Trespassing” sign on unknown vacant lot owner’s property. County Sheriff

14   Maestas doesn’t even know how to do job, doesn’t even understand chain of

15   custody with evidence. Police Misconduct #4 Neighbor admitted to knowing

16   who’s illegally dumping trash on Plaintiff’s property. County Sheriff Maestas

17   failed to investigate admission of guilt for a neighbor’s vacant property.

18   Neighbor should have been arrested for admission of guilt, County Sheriff

19   Maestas did not do follow up investigation or call Plaintiff & Family back. Police
20   Misconduct #5 County Sheriff Maestas cannot charge petty theft for broken
21   up, $0 value plastic, trashed, faded ½ sign. Police Misconduct #6 County Sheriff
22   Maestas drove down dirt road fast, reckless driving, yelling at Plaintiff Jeff Macy
23   in front of family for picking up trash because of County notice. Police
24   Misconduct #7 Hearsay Neighbor did a False Police report against Plaintiff &
25   Family. Hearsay neighbor does not even own property that supposed 0 value
26
     plastic sign was located on. Plaintiff & Family never met accuser. The original
27
     reason Defendant’s County Sheriff Maestas was called out, was for Macy
28                                         PAGE 7
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 8 of 34 Page ID #:132



1
     Family’s signs & cut down cables. Police Misconduct #8 Later, at 5:30 PM an
2
     abandoned vehicle trespassed & parked onto Plaintiff’s private property; in
3
     front of clearly identified “No Trespassing” signs. Blocking Plaintiff’s parking
4
     entrance. Plaintiff & Family called 911, but Defendant’s County Sheriffs never
5
     showed up. Plaintiff & Family waited in the cold for over 1 hour, then drove
6
     home after realizing County Sheriffs were not going to come.
7
        On 10/16/20, 4 days before Plaintiff & Family put up a top-of-the-line trail,
8
     battery operated, self-sufficient camera on tree aimed at Plaintiff’s private
9
     road to collect evidence for who was stealing Plaintiff’s property no trespassing
10
     signs. The neighbor Linda Koupeny was watching Macy Family put up camera
11

12
     from window at around 3 PM. Plaintiff & Family went to Plaintiff’s property to

13   clean up trash & found out that someone stole the camera put up on 10/12/20.

14   Plaintiff & Family called 911 at 3:11 PM to report stolen camera. Linda Koupeny

15   on Facebook said Koupeny did something about the trail camera right away,

16   Macy’s provided evidence of the Facebook post. 2 County Sheriffs didn’t do

17   anything about the admission of guilt from the Facebook post. Defendant’s 2

18   County Sheriffs showed up at around 4 PM & talked to Plaintiff Jeff Macy. The 2

19   County Sheriffs were aggressive & mean. The 2 County Sheriffs tried to turn on
20   Plaintiff to say, “Trail camera is looking into neighbor’s window”; when the trail
21   camera was aimed at the Plaintiff’s private road. The 2 County Sheriffs went to
22   talk to neighbors. County Sheriffs also gave Plaintiff Jeff Macy & Plaintiff’s Family
23   permission to clean up trash, which neighbors put on Plaintiff’s road to block
24   MacyLand. Defendant’s County Sheriffs wrote about stolen camera & trash on
25   the report, but did not give police report to Plaintiff & Family. San Bernardino
26
     County Code Enforcement gave Macy Family ticket of violation for trash
27
     neighbors put on Macy Family’s road.
28                                          PAGE 8
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 9 of 34 Page ID #:133



1
        On 10/24/20, Plaintiff & Family went over to MacyLand at around 1 PM & the
2
     pole with written “Macy Land” sign was stolen (on the corner of Plaintiff’s
3
     property.) Plaintiff called 911. Defendant’s County Sheriff came over to take
4
     the report. Case #052001506 Sheriff left scary skeleton on Plaintiff’s property.
5
     Plaintiff owns deck, which witchcraft sign, skeleton, “crazy cat lady” sign are
6
     on. All County Sheriff said was, “it is civil, I can’t do anything about it”. Plaintiff &
7
     Family is being bullied & intimidated. Linda Koupeny “Crazy Cat Lady”
8
     threatened, “I will kill you (Plaintiff Jeff Macy) if you ever touch or get near my
9
     cats.” Neighbors purposely leave “Crazy Cat Lady” sign on tree pointed
10
     towards MacyLand to intimidate Plaintiff & Family. Mark Eason & Linda
11

12
     Koupeny are also preventing Plaintiff & Family from developing Plaintiff’s

13   property, & have told the neighbors so. Linda Koupeny yells at Plaintiff & Family

14   [“Go away”] every single time Plaintiff & Family is at MacyLand property

15   cleaning up trash. Also preventing Plaintiff & Family from cleaning near

16   MacyLand property line. In front of Plaintiff’s kids, including Jedidiah Macy 11-

17   years-old. Calling Plaintiff Jeff Macy, “an a--hole, false prophet, fake, & a liar.”

18   Plaintiff & Family has never said anything mean to Mark Eason or Linda

19   Koupeny ever. Mark Eason & Linda Koupeny are suspected of felony theft of
20   Macy Family fences & destruction of private property. Police Report Case
21   #052001280 Cut down Plaintiff’s cables & removed no trespassing signs.
22      On or around Christmas Eve at around 8:15 PM Defendant’s County Sheriff
23   Maestas showed up at Plaintiff & Family’s residence to give Plaintiff Jeff Macy a
24   citizen’s arrest ticket for trashed, broken up, faded ½ of sign, picked up, &
25   cleaned off of Macy Family property weeks before. County Sheriff Maestas’
26
     Illegal Detainment of Plaintiff Jeff Macy for broken up, trashed, faded ½ of sign,
27

28                                            PAGE 9
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 10 of 34 Page ID #:134



1
     ticket. Plaintiff appealed false ticket & won on appeal. Another history of Police
2
     Misconduct, Negligence, & False Ticket.
3
        Sometime around 2021 at nighttime, pitch black, Plaintiff & Family was on
4
     MacyLand; suspicious unknown drones with flickering, flashing lights flew over
5
     Plaintiff’s private property & followed Plaintiff & Family around. Suspicious
6
     unknown drones were spying on Plaintiff & Family for a very long time; hovering
7
     over Plaintiff & Family. Defendant’s County Sheriffs never investigated or came
8
     out for suspicious unknown drones or who sent/controlled suspicious unknown
9
     drones. When Plaintiff & Family drove away, Plaintiff & Family was followed
10
     home from Cedarpines Park to Twin Peaks, CA by 1 black vehicle for over 40
11

12
     minutes. Every time Plaintiff & Family pulled over, black vehicle stalking Plaintiff

13   & Family would also pull over. Plaintiff & Family had to pull over multiple times,

14   in hopes that black vehicle would stop following Plaintiff & Family.

15      Defendant’s County Sheriff Officer Maestas has not investigated on many

16   occasions when called or “if” shows up to MacyLand. Plaintiff & Family are

17   being targeted for being a non-profit Religious Facility & Religious Organization.

18   Religious discrimination against 1611 Bible Translator & Scribes Macy Family.

19   County Sheriff Maestas showed up for felony theft allegations of Macy Family
20   Property numerous times. Plaintiff & Family has lost many chains, cables, glass
21   lights, signs, & cameras. County is trying to take Plaintiff’s Property for free.
22   County Sheriffs are helping to cover up for County. Plaintiff & Family has called
23   at least 6x, without Defendant’s County Sheriffs showing up. County Sheriffs
24   have stopped coming out to MacyLand to help Macy Family, because County
25   Sheriffs are covering up for County CSA-18.
26
        https://www.youtube.com/watch?v=YXI7Py_X4pg At 3:11, video on 3/8/2024
27
     at 11:21 AM; County Sheriff Maestas lied, said, “I have never arrested you
28                                           PAGE 10
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 11 of 34 Page ID #:135



1
     (Plaintiff Jeff Macy).” At 4:00 of video, County Sheriff Maestas refused to
2
     answer: if County Sheriff Maestas was going to follow up. County Sheriff
3
     Maestas only said, “I have the documents.” Later that day, Defendant’s
4
     County Watch Commander Sergeant Popa said, “I do not know I have to
5
     have my ID on my Uniform.” County Watch Commander Sergeant Popa said
6
     on phone, “Not going to investigate.” County Watch Commander Sergeant
7
     Popa did not know had to be courteous, only thought professional.
8
        Defendant’s code of ethics: https://wp.sbCounty.gov/sheriff/about-us/ As a
9
     law enforcement officer, my fundamental duty is to serve mankind; to
10
     safeguard lives & property; to protect the innocent against deception, the
11

12
     weak against oppression or intimidation, & the peaceful against violence or

13   disorder; & to respect the constitutional rights of all men to liberty, equality, &

14   justice. I will keep my private life unsullied as an example to all; maintain

15   courageous calm in the face of danger, scorn, or ridicule; develop self-

16   restraint; & be constantly mindful of the welfare of others. Honest in thought &

17   deed in both my personal & official life, I will be exemplary in obeying the laws

18   of the land & the regulations of my department. Whatever I see or hear of a

19   confidential nature or that is confided to me in my official capacity, will be
20   kept ever secret unless revelation is necessary in the performance of my duty. I
21   will never act officiously or permit personal feelings, prejudices, animosities, or
22   friendships to influence my decisions. With no compromise for crime & with
23   relentless prosecution of criminals, I will enforce the law courteously &
24   appropriately without fear or favor, malice or ill will, never employing
25   unnecessary force or violence & never accepting gratuities. I recognize the
26
     badge of my office as a symbol of public faith, & I accepted it as a public trust
27
     to be held as long as I am true to the ethics of the police service. I will
28                                          PAGE 11
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 12 of 34 Page ID #:136



1
     constantly strive to achieve these objectives & ideals, dedicating myself before
2
     GOD to my chosen profession…law enforcement.
3
                                         LEGAL STANDARD
4
        This Court’s review is de novo. See 28 U.S.C. § 636(b)(1) (“A judge of the
5
     court shall make a de novo determination of those portions of the report or
6
     specified proposed findings or recommendations to which objection is
7
     made.”).
8
                                        BACKGROUND
9
                                      A. Police Misconduct
10
        Defendant’s County Sheriff Officers are not showing up to investigate, or do
11

12
     their job! Defendant County Sheriff Officer Detective Sandoval refused to allow

13   Plaintiff to record in the County Sheriff’s investigation room, violating Plaintiff’s

14   1st amendment rights. Defendants are refusing to go to MacyLand to help

15   Plaintiff’s religious development; for Sheriffs already know that another County

16   department: CSA-18 is committing said crimes against Plaintiff. County Sheriff

17   Officers are not investigating County CSA-18 as part of continued cover up.

18   Defendant’s Officers are not calling Plaintiff back in regards to what’s

19   happening on Plaintiff’s MacyLand property. Defendant’s Officer told Plaintiff,
20   “We (Sheriff’s) don’t normally arrest County employees”. When Defendant San
21   Bernardino County Sheriff’s Department Twin Peaks Patrol Station found out
22   that San Bernardino County CSA-18 Special Districts were the ones doing
23   criminal activity on Plaintiff’s private religious property; County Sheriff Officer’s
24   stopped coming out to help Plaintiff. Defendants stopped doing Sheriff’s
25   required job for the Plaintiff for years. County CSA-18 has admitted to cutting &
26
     stealing Plaintiff’s: cables, bolts, signs, & shattered, broken multiple glass lights.
27
     County caused dangerous, hazardous conditions to exist; on Plaintiff’s private
28                                           PAGE 12
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 13 of 34 Page ID #:137



1
     road. Harassed Plaintiff & Family multiple times for years, saying, “Criminal
2
     destruction of private religious property is a civil issue?” At least 6x Defendant’s
3
     County Sheriff Officer’s never/refused to come to Plaintiff’s property to even
4
     investigate; when called for emergency situations!
5

6       Defendant’s County Sheriff Officers are helping San Bernardino County, CA

7    cover up numerous crimes from multiple County departments (such as: County

8    CSA-18, Sheriff’s, County Code enforcement, County Fire Hazard Abatement,
9    County Public works, County Waste Management, Cedarpines Park Mutual
10   Water Company, Neighbors, County Records Requests, County Department of
11   Risk Management, & County Counsel).
12      According to https://wp.sbcounty.gov/sheriff/wp-
13   content/uploads/sites/17/Department-Manual-Master-03-05-24.pdf?x17738
14   Defendant’s San Bernardino County Sheriff’s Department Manual 1.100
15   Department Philosophy: “The Department is dedicated to protect the rights of
16
     all persons within its jurisdiction to be free from criminal attack, to be secure in
17
     their possessions, & to live in peace.” Plaintiff’s neighbor Mark Eason admitted
18
     to shooting rattlesnake with Eason’s shotgun on Plaintiff’s property. Mark Eason
19
     also admitted to placing rattlesnake 10’ clearly onto Plaintiff’s property; on top
20
     of a round log, in plain sight. Eason intentionally placed rattlesnake on Plaintiff’s
21
     log to intimidate & scare Plaintiff’s grandchildren. Case #052001280.
22
     Defendant’s County Sheriff Maestas should have arrested Mark Eason for
23
     admitting to using shotgun on Plaintiff’s Property to kill Rattlesnake & throw on
24
     Plaintiff’s log. Instead, continued history of failure of duty, negligence, & Police
25
     Misconduct.
26

27

28                                          PAGE 13
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 14 of 34 Page ID #:138



1
        Defendant’s County Sheriff Maestas trespassed onto Plaintiff’s private road;
2
     Defendant’s Officer was supposed to meet at top entrance of MacyLand
3
     property to investigate Macy Family’s stolen no trespassing signs/cut cables
4
     etc. County Sheriff Maestas said, “I noticed the cables have been cut down
5
     again”, but asked more questions about the broken, trashed, faded ½ of sign
6
     that neighbor called in saying, Plaintiff Jeff Macy took their sign.
7

8       Defendant’s County Sheriff Maestas did more investigation about allegation
9    of petty theft broken, trash ½ of sign, instead of investigating Plaintiff & Family’s
10   cables & signs. Macy Family was cleaning up MacyLand property & faded ½ of
11   1 part of a trashed, broken in ½ faded sign; lying face down on Plaintiff’s
12   property. Plaintiff Jeff Macy picked up faded ½ of sign & threw faded ½ of sign
13   in back of dump truck with trash to throw away. Broken up, $0 value plastic,
14   trash ½ of sign was in back of Macy Family trash truck to take to dump; for
15   County Code Enforcement ticket fine given to Plaintiff to clean up trash.
16
     Defendant’s Officer talked more about the trashed, faded ½ of sign Plaintiff
17
     picked up, rather than Macy Family’s signs & cut down cables which he was
18
     called out for from Macy’s. County Sheriff Maestas never turned $0 value
19
     plastic, trashed, faded ½ of sign into evidence.
20
        Defendant’s County Sheriff Maestas gave sign to Hearsay neighbor instead
21

22
     of taking the $0 value, faded ½ plastic, trash sign into evidence. [Required for

23
     a criminal charge] County Sheriff Maestas drove up road to give neighbor $0

24   value plastic, trashed, faded ½ of sign! Hearsay neighbor called in, saying, “Not

25   owner of vacant property lot, but has authority to call on behalf of owner?”.

26   Hearsay neighbor had “No Trespassing” sign on unknown vacant lot owner’s

27

28                                          PAGE 14
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 15 of 34 Page ID #:139



1
     property. County Sheriff Maestas doesn’t even know how to do job, doesn’t
2
     even understand chain of custody with evidence.
3

4       Neighbor admitted to knowing who’s illegally dumping trash on Plaintiff’s

5    property. County Sheriff Maestas failed to investigate admission of guilt for a

6    neighbor’s vacant property. Neighbor should have been arrested for admission

7    of guilt, County Sheriff Maestas did not do follow up investigation or call Plaintiff

8    & Family back.
9
        Defendant’s County Sheriff Maestas cannot charge petty theft for broken
10
     up, $0 value plastic, trashed, faded ½ sign.
11

12
        Defendant’s County Sheriff Maestas drove down dirt road fast, reckless

13   driving, yelling at Plaintiff Jeff Macy in front of family for picking up trash

14   because of County notice.

15      Hearsay Neighbor did a False Police report against Plaintiff & Family.
16
     Hearsay neighbor does not even own property that supposed 0 value plastic
17
     sign was located on. Plaintiff & Family never met accuser. The original reason
18
     Defendant’s County Sheriff Maestas was called out, was for Macy Family’s
19
     signs & cut down cables.
20
        There was an abandoned vehicle trespassed & parked onto Plaintiff’s
21

22
     private property; in front of clearly identified “No Trespassing” signs. Blocking

23
     Plaintiff’s parking entrance. Plaintiff & Family called 911, but Defendant’s

24   County Sheriffs never showed up. Plaintiff & Family waited in the cold for over 1

25   hour, then drove home after realizing County Sheriffs were not going to come.

26
        On or around Christmas Eve at around 8:15 PM Defendant’s County Sheriff
27
     Maestas showed up at Plaintiff & Family’s residence to give Plaintiff Jeff Macy a
28                                           PAGE 15
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 16 of 34 Page ID #:140



1
     citizen’s arrest ticket for trashed, broken up, faded ½ of sign, picked up, &
2
     cleaned off of Macy Family property weeks before. County Sheriff Maestas’
3
     Illegal Detainment of Plaintiff for broken up, trashed, faded ½ of sign, ticket.
4
     Plaintiff Jeff Macy appealed false ticket & won on appeal. Another history of
5
     Police Misconduct, Negligence, & False Ticket.
6

7       As such, Defendants violated Plaintiff’s constitutional right, the Fourth

8    Amendment by: Illegal Detainment: A police detention is a seizure of your
9    person. If it is unreasonable, it violates your Fourth Amendment rights. If it
10   violates the Fourth Amendment, it is an unlawful traffic stop. Defendants had
11   no legal justification to restrict Plaintiff & Plaintiff’s family freedom to leave.
12   Unreasonable Search & Seizure: “Unlawful police detention is when law
13   enforcement, without legal justification, restricts your freedom to leave. Doing
14   so constitutes a civil rights violation based on the Fourth Amendment. That
15   amendment to the U.S. Constitution prohibits officers from conducting
16
     unreasonable searches or seizures.” Defendants violated Plaintiff’s Fourth
17
     Amendment to the Constitution. “The right of the people to be secure in their
18
     persons, houses, papers, & effects, against unreasonable searches & seizures,
19
     shall not be violated, & no warrants shall issue, but upon probable cause,
20
     supported by oath or affirmation, & particularly describing the place to be
21
     searched, & the persons or things to be seized.”
22

23
                                       B. Emotional Distress

24      Defendants “abused a position of authority” Plaintiff & Family cannot trust

25   Sheriff’s to do their job. Instead of helping Plaintiff & Family, Defendant Sheriff

26   Officer’s turned against Plaintiff & Family & gave Plaintiff a ticket for trash on

27   Plaintiff’s property. The ticket was appealed & won on appeal.

28                                           PAGE 16
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 17 of 34 Page ID #:141



1
        Defendants had already known Plaintiff was “particularly vulnerable to
2
     emotional distress”. Defendants have neglected to help Plaintiff & Family.
3
        Defendants, “knew that their conduct will likely result in emotional harm”.
4
     Defendant actions described in this Complaint were intentional, extreme, &
5
     outrageous. County Defendant is actively covering up for other County
6
     Organizations & not helping protect Plaintiff & Family against said crimes.
7
        Plaintiff is informed & believes & here-in alleges that such actions were done
8
     with intent to cause serious emotional distress & were done with reckless
9
     disregard of the probability of causing Plaintiffs severe emotional distress.
10
        The conduct of the Defendants was despicable, abuse of power, abuse of
11

12
     authority, oppressive, & accomplished with a conscious disregard for Plaintiff &

13   Family’s rights. Plaintiff’s severe emotional distress is a result from

14   aforementioned Defendants violation of Plaintiff’s constitutional right, the

15   Fourth Amendment.

16      As a proximate result of the Defendant’s actions & inactions; Plaintiff Jeff

17   Macy incurred damages in the form of psychological & emotional injuries,

18   including, without limitation, sleep deprivation, humiliation, all of which are

19   continuing & damaging to reputation. Plaintiff’s actual damages will be
20   ascertained at trial.
21                                      Sleep Deprivation:
22      1. Plaintiff Jeff Macy is having a hard time falling asleep right away &
23         sleeping at night because of Defendant Officers abusing their positions &
24         not helping Plaintiff. Sheriffs are supposed to maintain peace & order,
25         but instead of helping Plaintiff; Defendant turned against Plaintiff & gave
26
           Plaintiff false ticket.
27

28                                           PAGE 17
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 18 of 34 Page ID #:142



1
        2. Plaintiff’s quality of life has been diminished because of Defendant not
2
            properly doing their job. Plaintiff feels like Defendant hates him because
3
            of his religion & he’s being religiously discriminated against.
4
                                         Humiliation:
5
        1. It’s embarrassing & humiliating how people keep hearing about lawsuit
6
            against San Bernardino County Sheriffs Department Twin Peaks & asking
7
            Plaintiff about it.
8
        2. Plaintiff is humiliated for receiving a false ticket for picking up trash on
9
            Plaintiff’s own property! Plaintiff was required by San Bernardino County
10
            to clean trash off of Plaintiff’s property, but then Defendant San
11

12
            Bernardino County Sheriffs Department gave Plaintiff a ticket to extort

13          money from Plaintiff.

14                                        C. Cover Up

15      Defendant’s County Sheriffs are not showing up, not doing their job, “Police

16   Misconduct” to Macy Land to help Plaintiff & Family because Defendant

17   already knows it’s County CSA-18 committing crimes. County Sheriffs are not

18   investigating County CSA-18 as part of continued cover up.

19      Defendant’s County Sheriffs are not calling back in regards to what’s
20   happening on Plaintiff’s property. “We (County Sheriff’s) don’t normally arrest
21   County employees.” When the Defendant Sheriff’s Department found out that
22   San Bernardino County CSA-18 Special Districts were the ones doing criminal
23   activity on Plaintiff’s private property; County Sheriffs stopped helping the
24   Plaintiff & Family.
25      County CSA-18 has admitted to cutting & taking Plaintiff’s cables down,
26
     signs, causing broken multiple glass lights; causing a dangerous, hazardous
27

28                                          PAGE 18
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 19 of 34 Page ID #:143



1
     condition on Plaintiff’s road, & harassed the Plaintiff & Family multiple times.
2
     “Police against Community mentality.”
3
        Instead of the Defendant’s correcting County CSA-18’s wrongdoings,
4
     Defendants are helping San Bernardino County cover up numerous crimes.
5
        Plaintiff Jeff Macy called Defendant County Sheriff’s on 3/7/2024 about
6
     Cedarpines Park Mutual Water Company for trespassing on Plaintiff’s property.
7
     Plaintiff & Family have survey & authority to show where survey markers are
8
     located, but the Defendant County Sheriff’s never called back or showed up
9
     to help.
10
        For the good of the community, anyone that is involved in this cover up &
11

12
     widespread corruption should be retrained, suspended or fired.

13      Defendant’s authorities to the best of Plaintiff’s knowledge have failed to do

14   any & all investigations or resolutions to this day!

15      Defendant’s County Sheriff Officer Maestas has not investigated on many

16   occasions when called or “if” shows up to MacyLand. Plaintiff & Family are

17   being targeted for being a non-profit Religious Facility & Religious Organization.

18   1611 Bible Translator & Scribes Macy Family. County Sheriff Maestas showed up

19   for felony theft allegations of Macy Family Property numerous times. Plaintiff &
20   Family has lost many chains, cables, glass lights, signs, & cameras. County is
21   trying to take Plaintiff’s Property for free. County Sheriffs are helping to cover up
22   for County. Plaintiff & Family has called at least 6x, without Defendant’s County
23   Sheriffs showing up. County Sheriffs have stopped coming out to MacyLand to
24   help Macy Family, because County Sheriffs are covering up for County CSA-18.
25   As such, County is covering up because of aforementioned Defendants
26
     violation of Plaintiff’s constitutional right, the Fourth Amendment.
27

28                                          PAGE 19
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 20 of 34 Page ID #:144



1
        Defendants are violating Plaintiff’s First Amendment rights which guarantees
2
     freedoms concerning religion by helping San Bernardino County cover up.
3
     Defendants should be helping and protecting Plaintiff’s; not helping San
4
     Bernardino County cover up & restricting Plaintiff’s from building a religious
5
     temple.
6

7                         D. Failure to do Public Record’s Requests

8       There are numerous incident reports & County Sheriff reports. Defendant
9    County Sheriff’s Department is still failing to give Plaintiff’s public records
10   requests.
11      Defendants violated Government Code (GC) sections 6250-6270 failure to
12   complete request within the 10 days to this day.
13      Defendants failed to do public records request as requested by Plaintiff
14   multiple times (Exhibit 3).
15      Plaintiff has requested numerous times for documents as well as recordings
16
     from Defendant. Defendant has failed to follow the 10-day legal requirement
17
     to disclose & provide the documents to Plaintiff as requested.
18
        All Public Records Requests will be handled in a timely manner: The PRA
19
     requires public agencies to initially respond to a request for records within ten
20
     calendar days (this time limit may be extended by 14 days in certain
21
     circumstances). CSD will inform the requestor of the status of the request within
22
     ten days, & further inform the requestor of an estimated timeframe for
23
     completion. Section 6253 of the Government Code, which sets forth the 10-day
24
     compliance period under the Public Records Act, simply states that a response
25
     shall be made “within 10 days from receipt of the request.” Defendants has not
26

27

28                                           PAGE 20
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 21 of 34 Page ID #:145



1
     followed or responded to any Public Records Requests made by Plaintiff &
2
     Family.
3
        Defendant has failed to fulfill public records request from Plaintiff for what
4
     regulations Defendant has & who made the regulations; for Defendant to not
5
     follow the laws. Defendants are failing/refusing to fulfill public records request
6
     from Plaintiff because of aforementioned Defendants violation of Plaintiff’s
7
     constitutional right, the Fourth Amendment.
8
        Plaintiff also claim attorney fees & costs pursuant to 42 U.S.C. § 1988 under
9
     this claim for relief.
10

11                       E. Municipal & Supervisory Liability (42 U.S.C. § 1983)
12      Defendant has allowed County Sheriff Officers to deprive Plaintiff Jeff Macy
13   of their rights & liberties secured by the 4th & 14th Amendments to the United
14   States Constitution, in that said Defendants & their supervising & managerial
15   employees, agents, & representatives acting with gross negligence & with
16
     reckless & deliberate indifference to the safety, rights, & liberties of the public in
17
     general & of Plaintiff Jeff Macy, & of persons in their class, situation &
18
     comparable position, in particular, knowingly maintained, enforced & applied
19
     an official recognized custom, policy, & practice of:
20
          (a) Defendant employing & retaining as Officers & other personnel,
21
               including County Sheriff Officers at all times material herein knew or
22
               reasonably should have known had propensities for abusing their
23
               authority & for mistreating citizens by failing to follow their code of
24
               ethics;
25
          (b) Defendant inadequately supervising, training, controlling, assigning &
26
               disciplining County Sheriff Officers & other personnel, each knew or in
27

28                                           PAGE 21
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 22 of 34 Page ID #:146



1
             the exercise of reasonable care should have known the
2
             aforementioned propensities & character traits;
3
         (c) Defendant has maintained grossly inadequate procedures for
4
             reporting, supervising, investigating, reviewing, controlling, & disciplining
5
             the intentional conduct by County Sheriff Officers & other personnel;
6
         (d) Defendant is failing to adequately train County Sheriff Officers
7
             including Defendant San Bernardino County Sheriff’s Department Twin
8
             Peaks Patrol Station & failing to institute appropriate policies regarding
9
             constitutional procedures & practices.
10
         (e) Defendant is maintaining grossly inadequate procedures for reporting,
11

12
             supervising, investigating, reviewing, controlling & disciplining the

13           intentional conduct by County Sheriff Officers.

14      The policies, practices, & customs implemented & maintained & still

15   tolerated by Defendant were affirmatively linked to & were significantly

16   influential forces behind the Plaintiff receiving more tickets from County Code

17   Enforcement trying to wrongfully extort more money from Plaintiff. As such, the

18   policies, practices, & customs aforementioned are linked to aforementioned

19   Defendants violation of Plaintiff’s constitutional right, the Fourth Amendment.
20                                      D. NEGLIGENCE
21      Defendants were negligent in training County Sheriff Officers. Officers know
22   their name tags (identification) has to be clearly visible. Defendant’s County
23   Sheriff Officers also did not provide a business card or proof of identification.
24      Defendant’s Captain also refuses to have meeting with Plaintiff & Family
25   about Theft, Trespassing, Harassment, & all above said violations against
26
     Plaintiff & Family done by other County Officials.
27

28                                         PAGE 22
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 23 of 34 Page ID #:147



1
        Defendant was negligent. County Sheriff Officers know County Officers
2
     need to identify themselves (Exhibit 1). County Sheriff Officer’s failed to identify
3
     themselves as per Macy’s video evidence & testimonies (Exhibit 2). Doornbos v.
4
     City of Chicago (2017)
5
        Plaintiff’s neighbor Mark Eason admitted to shooting rattlesnake with
6
     Eason’s shotgun on Plaintiff’s property. Mark Eason also admitted to placing
7
     rattlesnake 10’ clearly onto Plaintiff’s property; on top of a round log, in plain
8
     sight. Mark Eason even admitted to Defendant’s Officer County Sheriff Maestas
9
     that Mark Eason shot rattlesnake outside in public, but was not arrested or
10
     given a ticket. Case #052001280. County Sheriff Maestas should have arrested
11

12
     Mark Eason for admitting to using shotgun on Plaintiff’s Property to kill

13   Rattlesnake & throw on Plaintiff’s log. Instead, continued history of failure of

14   duty, negligence, & Police Misconduct. Pattern of County Sheriffs not doing

15   their job. Plaintiff Jeff Macy even asked County Sheriff Maestas to remove

16   rattlesnake, which County Sheriff Maestas would not do.

17
        On or around Christmas Eve at around 8:15 PM Defendant’s County Sheriff
18
     Maestas showed up at Plaintiff & Family’s residence to give Plaintiff Jeff Macy a
19
     citizen’s arrest ticket for trashed, broken up, faded ½ of sign, picked up, &
20
     cleaned off of Macy Family property weeks before. County Sheriff Maestas’
21
     Illegal Detainment of Plaintiff for broken up, trashed, faded ½ of sign, ticket.
22
     Plaintiff Jeff Macy appealed false ticket & won on appeal. Another history of
23
     Police Misconduct, Negligence, & False Ticket. Defendants’ negligence &
24
     Illegal Detainment of Plaintiff is a constitutional violation of Plaintiff’s
25
     constitutional right, the Fourth Amendment.
26

27                                        E. CONSPIRACY

28                                            PAGE 23
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 24 of 34 Page ID #:148



1
        1. County Code Enforcement, 2. California Highway Patrol, 3. Burrtec, 4.
2
     Waste Management, 5. County Public Works, 6. County CSA-18 7. San
3
     Bernardino County Sheriff’s Department are allegedly conspiring, targeting
4
     Plaintiff & Family’s religious Yeshua Temple project with animus-based
5
     discrimination against their freedom of religion. Governmental agencies are
6
     targeting Plaintiff & Family; religious non-profit Christians, conspiring with other
7
     government organizations to deprive Plaintiff & Family of their civil rights and/or
8
     ability to build a Holy Temple. County Code Enforcement has given egregious
9
     notices, & have trespassed on Plaintiff’s private property multiple times; with no
10
     warrants or court orders on Plaintiff’s Mojave River Rd, Cedarpines Park, CA 36-
11

12
     acre private property. County Public Works, County CSA-18 has cut down

13   Plaintiff’s cables at religious private property. Burrtec private trash company

14   drives on Plaintiff’s private Augusta Way road without permission. For years

15   Burrtec has caused weight damage to Plaintiff & Family’s private road from

16   excessive weight from Burrtec trucks, which travel from County SWMD which is

17   the County of San Bernardino’s Solid Waste Management Division; that Waste

18   Management has willingly allowed to extort more money. Defendant’s County

19   Deputy Sheriff Officer Robert Maestas gave Plaintiff Jeff Macy an illegal ticket
20   for picking up trash. Plaintiff & Family put trash in Macy family trash truck, from
21   own Macy’s private property. On Christmas evening, for a claim made a week
22   earlier by an unknown neighbor said had verbal permission to report broken
23   sign on Plaintiff’s property as stolen trash? Defendant’s County Deputy Sheriff
24   Officer Robert Maestas said, “I didn’t want to give you a ticket, but captain
25   made me do it, …don’t want to arrest you; but you will have to appear in court
26
     to contest it.” Plaintiff Jeff Macy, with whole family & Plaintiff present collecting
27
     trash testified to County Officer it was trash in a trash pile on Plaintiff’s private
28                                           PAGE 24
Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 25 of 34 Page ID #:149
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 26 of 34 Page ID #:150



1
                                           Exhibit 1:
2
                                                         Sheriff’s Department Manual
3
     1.718 Duty to Identify Self
4
     In the performance of their official duties, except in authorized undercover
5
     situations, members shall identify themselves by rank, surname, and division of
6
     assignment when requested to identify themselves by any citizen.
7
     1.720 Proper Use of Radios, Computers, etc.
8
     County Communications monitors Department radio frequencies and may
9
     furnish reports to the Office of the Sheriff regarding radio frequency abuse.
10
     Specific violations shall be brought to the attention of the concerned
11

12
     commander.

13   1.722 Answering Department Telephones

14   The telephone is the primary method by which the services of the Department

15   are requested. All incoming telephone calls must be answered as promptly as

16   possible to determine if a need for law enforcement service exists and, if so, to

17   provide the required service. In answering telephone calls, members shall

18   courteously greet the caller, identify their units and themselves, and ask to be

19   of assistance. Members shall make every reasonable attempt to either supply
20   the requested information and assistance or to promptly refer the party to the
21   proper Department unit or other public or private agency for assistance. Under
22   no circumstances shall any telephone call be placed on hold without first
23   determining if the call is of an emergency nature. A member who receives a
24   telephonic report requiring immediate law enforcement action shall promptly
25   obtain the location of the occurrence, call back number, and other available
26
     ____________________________________________________________________________
27

28                                        PAGE 26
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 27 of 34 Page ID #:151



1
                                            Exhibit 2:
2
                                                           Sheriff’s Department Manual
3
     5.405.45 Class A Trouser Belt
4
     The belt shall be constructed of black leather, or leather-type material,
5
     stamped with basketweave design, and be one and one-half inches (1 1/2")
6
     wide. The belt shall have either a silver colored metal buckle or be buckleless
7
     with a Velcro-type closure.
8
     5.405.50 Metal Badge: Class A Uniform
9
     The Department authorized metal badge shall be pinned to the eyelet badge
10
     tab over the left breast pocket.
11

12
     5.405.55 Shoulder Patches

13   Standard Departmental shoulder patches shall be sewn onto the shirt sleeves.

14   5.405.60 Name Plate

15   The name plate shall be a bright gold colored metal bar having the first initial

16   and the last name of the member engraved thereon in bold black print.

17   The bar is a clutch-back bar, measuring approximately two and one-half

18   inches in length by one-half inch in width (2 1/2" x 1/2").

19   The name plate shall be horizontally centered above the right breast pocket,
20   the lower edge of the name plate to touch upon the upper edge of the
21   pocket seam.
22   NOTE: Stations may also authorize name plates displaying the station name
23   and/or city logo. The name plates shall measure approximately three inches in
24   length by three-quarter inch in width (3” X ¾”).
25

26
     ____________________________________________________________________________
27

28                                         PAGE 27
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 28 of 34 Page ID #:152



1
                                                                    Exhibit 3
2
     [Document Released to Requester] San Bernardino County public records request #24-8929
3
     ____________________________________________________________________________________________
4
     From: San Bernardino County Public Records (messages@nextrequest.com)
5
     To: macybuilders@yahoo.com
6
     Date: Thursday, June 27, 2024 at 05:52 PM PDT
7
     ____________________________________________________________________________________________
8
                 -- Attach a non-image file and/or reply ABOVE THIS LINE with a message, and it will be sent to staff on this request. –
9
                                           San Bernardino County Public Records
10
                   Documents have been released for
11
                   record request #24-8929 along with the
12

13                 following message:

14                 June 27, 2024

15                 Jeff Macy

16                 Re: Public Records Act request #24-8929

17                 Dear Mr. Macy:

18                 The San Bernardino County Sheriff’s Department (“Department”)

19                 has concluded its review of your Public Records Act request.

20                 The Department has located the attached documents, which may

21                 be responsive to your request. Duplication costs have been

22                 waived.

23                 In response to your request for body-worn camera footage, the

24                 type of records you have requested, if they exist, constitute
25                 confidential investigative records and are exempt from release
26
                   under the Public Records Act. Pursuant to Government Code
27
                   section 7923.600, subdivision (a) any investigatory files
28                                                                   PAGE 28
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 29 of 34 Page ID #:153



1
               assembled by local agencies for law enforcement purposes are
2
               excluded from disclosure under the Public Records Act. This
3
               exclusion applies regardless of whether or not enforcement
4
               proceedings are active or certain to occur. (Haynie v. Superior
5
               Court (2001) 26 Cal.4th 1061, 1069; Black Panther Party v.
6
               Kehoe (1974) 42 Cal.App.3d 645, 654; Younger v. Berkeley City
7
               Council (1st Dist. 1975) 45 Cal.App.3d 825, 833; and American
8
               Civil Liberties Union Foundation v. Deukmejian (1982) 32 Cal. 3d
9
               440.) Moreover, these records maintain their protected status and
10
               are non-disclosable, even when the associated investigation has
11
               concluded (Williams v. Superior Court (1993) 5 Cal. 4th 337, 355-
12

13             362). The body-worn camera recording you have requested is not

14             related to an incident that requires us to make investigative

15             materials publicly available. (See Pen. Code, § 832.7, subd. (b)

16             (1); and Gov. Code, § 7923.625, subd. (e).)

17             Furthermore, releasing such records can potentially infringe upon

18             the privacy rights of the individuals involved. The California

19             Constitution safeguards these privacy rights, and the rights are

20             highlighted as a fundamental interest upheld by the Public

21             Records Act. (Cal. Const., Art I, Section I; Gov. Code §§ 7927.700

22             and 7927.705).

23             For the reasons outlined above, your request for body-worn

24             camera footage is respectfully denied.
25             Sincerely,
26
               San Bernardino County Sheriff’s Department
27
                  x   5.405.60 Name Plate.pdf
28                                           PAGE 29
 Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 30 of 34 Page ID #:154



1
                   x   1.718 Duty to Identify Self.pdf
2

3
                   View Request 24-8929
4
               https://sanbernardinocounty.nextrequest.com/requests/24-8929
5
               Document links are valid for one month. After July 27, you will need to sign in to view
6
               the document(s).
7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                              PAGE 30
Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 31 of 34 Page ID #:155




       1.718 Duty to Identify Self
       In the performance of their official duties, except in authorized
       undercover situations, members shall identify themselves by rank,
       surname, and division of assignment when requested to identify
       themselves by any citizen.

       1.720 Proper Use of Radios, Computers, etc.
       
       County Communications monitors Department radio frequencies
       and may furnish reports to the Office of the Sheriff regarding ra-
       dio frequency abuse. Specific violations shall be brought to the
       attention of the concerned commander.

       1.722 Answering Department Telephones

       The telephone is the primary method by which the services of
       the Department are requested. All incoming telephone calls
       must be answered as promptly as possible to determine if a
       need for law enforcement service exists and, if so, to provide the
       required service.

       In answering telephone calls, members shall courteously greet
       the caller, identify their units and themselves, and ask to be of
       assistance. Members shall make every reasonable attempt to ei-
       ther supply the requested information and assistance or to
       promptly refer the party to the proper Department unit or other
       public or private agency for assistance.

       Under no circumstances shall any telephone call be placed on
       hold without first determining if the call is of an emergency na-
       ture. A member who receives a telephonic report requiring im-
       mediate law enforcement action shall promptly obtain the loca-
       tion of the occurrence, call back number, and other available




                                                                    ͮ ϭϭϯ
   
Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 32 of 34 Page ID #:156




        5.405.45 Class A Trouser Belt
        The belt shall be constructed of black leather, or leather-type
        material, stamped with basketweave design, and be one and
        one-half inches (1 1/2") wide. The belt shall have either a silver-
        colored metal buckle or be buckleless with a Velcro-type clo-
        sure.

        5.405.50 Metal Badge: Class A Uniform
        The Department authorized metal badge shall be pinned to the
        eyelet badge tab over the left breast pocket.

        5.405.55 Shoulder Patches
        Standard Departmental shoulder patches shall be sewn onto
        the shirt sleeves.

        5.405.60 Name Plate
        The name plate shall be a bright gold colored metal bar having
        the first initial and the last name of the member engraved
        thereon in bold black print.

        The bar is a clutch-back bar, measuring approximately two and
        one-half inches in length by one-half inch in width (2 1/2" x 1/2").

        The name plate shall be horizontally centered above the right
        breast pocket, the lower edge of the name plate to touch
        upon the upper edge of the pocket seam.

        NOTE: Stations may also authorize name plates displaying the
        station name and/or city logo. The name plates shall measure
        approximately three inches in length by three-quarter inch in




                                                                    ͮ ϴϵϮ
   
      Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 33 of 34 Page ID #:157

[Document Released to Requester] San Bernardino County public records request #24-8929

From: San Bernardino County Public Records (messages@nextrequest.com)

To:   macybuilders@yahoo.com

Date: Thursday, June 27, 2024 at 05:52 PM PDT



                                                                        -- Attach a non-image file and/or reply ABOVE THIS LINE with a message, and it will be sent to staff on this request. --




                                                                                           San Bernardino County Public Records



                                                                              Documents have been released for
                                                                              record request #24-8929 along with the
                                                                              following message:

                                                                              June 27, 2024
                                                                              Jeff Macy
                                                                              Re: Public Records Act request #24-8929
                                                                              Dear Mr. Macy:
                                                                              The San Bernardino County Sheriff’s Department (“Department”)
                                                                              has concluded its review of your Public Records Act request.
                                                                              The Department has located the attached documents, which may
                                                                              be responsive to your request. Duplication costs have been
                                                                              waived.
                                                                              In response to your request for body-worn camera footage, the
                                                                              type of records you have requested, if they exist, constitute
                                                                              confidential investigative records and are exempt from release
                                                                              under the Public Records Act. Pursuant to Government Code
                                                                              section 7923.600, subdivision (a) any investigatory files
                                                                              assembled by local agencies for law enforcement purposes are
                                                                              excluded from disclosure under the Public Records Act. This
                                                                              exclusion applies regardless of whether or not enforcement
                                                                              proceedings are active or certain to occur. (Haynie v. Superior
                                                                              Court (2001) 26 Cal.4th 1061, 1069; Black Panther Party v.
                                                                              Kehoe (1974) 42 Cal.App.3d 645, 654; Younger v. Berkeley City
                                                                              Council (1st Dist. 1975) 45 Cal.App.3d 825, 833; and American
                                                                              Civil Liberties Union Foundation v. Deukmejian (1982) 32 Cal. 3d
                                                                              440.) Moreover, these records maintain their protected status and
                                                                              are non-disclosable, even when the associated investigation has
                                                                              concluded (Williams v. Superior Court (1993) 5 Cal. 4th 337, 355-
                                                                              362). The body-worn camera recording you have requested is not
                                                                              related to an incident that requires us to make investigative
                                                                              materials publicly available. (See Pen. Code, § 832.7, subd. (b)
                                                                              (1); and Gov. Code, § 7923.625, subd. (e).)
                                                                              Furthermore, releasing such records can potentially infringe upon
                                                                              the privacy rights of the individuals involved. The California
                                                                              Constitution safeguards these privacy rights, and the rights are
                                                                              highlighted as a fundamental interest upheld by the Public
                                                                              Records Act. (Cal. Const., Art I, Section I; Gov. Code §§ 7927.700
                                                                              and 7927.705).
                                                                              For the reasons outlined above, your request for body-worn
                                                                              camera footage is respectfully denied.
                                                                              Sincerely,
                                                                              San Bernardino County Sheriff’s Department

                                                                                       5.405.60 Name Plate.pdf
                                                                                       1.718 Duty to Identify Self.pdf




                                                                                   View Request 24-8929


                                                                              https://sanbernardinocounty.nextrequest.com/requests/24-8929




                                                                              Document links are valid for one month. After July 27, you will need to sign in to view
                                                                              the document(s).




                                                                               Questions about your request? Reply to this email or sign in to contact staff at San Bernardino County.
                                                                                                              Technical support: See our help page
Case 5:24-cv-01009-RGK-BFM Document 14 Filed 07/15/24 Page 34 of 34 Page ID #:158
